                                       ATTACHMENT A

CHARGE:

Between October 31, 2022, and November 2, 2022, said dates being approximate, in McDonald

County, in the Western District of Missouri, and elsewhere, the defendant, AMBER

WATERMAN, did unlawfully and willfully kidnap, abduct, carry away, and hold Ashley Bush,

for the purpose and benefit of claiming Ashley Bush’s child as the defendant’s child, and willfully

transport Ashley Bush in interstate commerce from Maysville, Arkansas, across the state line to

Pineville, Missouri, the actions of the defendant resulting in the death of Amber Waterman, all in

violation of Title 18, United States Code, Section 1201(a)(1).

RANGE OF PUNISHMENT:

18 U.S.C. § 1201(a)
NMT Death
NLT Life Imprisonment
NMT $250,000 Fine
$100 Special Assessment
Class A Felony




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